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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JOHN NAWARA,

                  Plaintiff,

           v.                                             Case No. 17-cv-02393

 COUNTY OF COOK, a unit of local                          The Honorable Rebecca R. Pallmeyer
 Government; THOMAS DART, in his                          Judge Presiding
 individual and official capacity as Sheriff of
 Cook County, Illinois, KAREN JONES-
 HAYES, MATTHEW BURKE, REBECCA
 REIERSON and WINIFRED SHELBY in their
 individual capacities,

                  Defendants.

          PLAINTIFF’S MOTION TO ENTER A REVISED BRIEFING SCHEDULE ON
           PLAINTIFF’S MOTION FOR AWARD OF BACKPAY/LOST WAGES AND
                               EQUITABLE RELIEF

          Plaintiff, John Nawara (“Nawara”), moves this Honorable Court to enter a revised briefing

schedule on his motion for back pay/lost wages, prejudgment interest and equitable relief, and

states:

          1.     On March 9, 2020, Plaintiff filed a motion for back pay/lost wages, prejudgment

interest and equitable relief. (Doc. 305). On March 12, 2020, the Court entered a briefing schedule

requiring a response by April 10, 2020 and a reply by April 24, 2020. (Doc. 308).

          2.     As a result of the Covid-19 Public Emergency, this Court entered several orders

extending all deadlines for civil cases. Pursuant to the April 24, 2020 Order the Defendant’s

response is now due on June 26, 2020.

          3.     Despite the extension in the Amended General Order 20-0012 entered on March

17, 2020 (Doc. 309), on March 30, 2020, Defendant’s counsel emailed Plaintiff’s counsel stating




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that Defendant would be filing a Rule 50 motion and requesting agreement to a briefing schedule.

A copy of the email is attached as Exhibit 1. Plaintiff’s counsel responded stating that, “at this

point in the proceedings Rule 50 contemplates a motion after the entry of judgment. The Court

withdrew its order entering judgment on the verdict (Doc. 307). As such, there is no judgment on

which to base your Rule 50 motion. If you believe you have to file one to protect yourself, we

understand. At this time we do not want to agree to a briefing schedule.” A copy of the email is

attached as Exhibit 2.

       4.      On April 2, 2020, Defendant filed motions for judgment under Rules 50(a) and (b)

of the Federal Rules of Civil Procedure. On April 6, 2020, this Court requested that the parties

agree to a briefing schedule on the Defendant’s Rule 50 motions. (Doc. 319). The parties agreed

to a schedule memorialized in the Minute Entry dated April 6, 2020. (Doc. 320).

       5.      On May 5, 2020, after the Plaintiff filed his response to the Defendant’s Rule 50

motions, Plaintiff’s counsel emailed counsel for Defendant requesting that Defendant agree to

respond to Plaintiff’s motion within 21-days. A copy of the email is attached as Exhibit 3.

       6.      Defendant’s counsel refused to agree to a revised briefing schedule. A copy of

Defendant’s counsel’s email is attached as Exhibit 4.

       7.      Neither Rule 50(b) nor Rule 59 prevent the filing of motions before the entry of

judgment. Because the Defendant chose not to file a Rule 59 motion at this time, it would still have

28 days after the entry of judgment within which to file the same. It makes sense, for the purpose

of judicial economy, to have a judgment entered so that any Rule 59 motion, if filed, can be heard

at the same time.




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       8.      Completing the briefing on Plaintiff’s motion, and having judgment entered before

this Court ruling on Defendant’s Rule 50 motions, and any forthcoming Rule 59 motion, will result

in judicial economy.

       9.      In addition, Plaintiff’s motion for back pay and other relief is simple and straight-

forward. As Plaintiff sets forth in his motion, his right to back pay and the other requested relief

should not be subject to dispute and Plaintiff sees no legitimate reason why the Sheriff’s Office

cannot respond to the motion within 21-days especially given that it has had the motion since

March 9, 2020.

       WHEREFORE, Plaintiff, John Nawara, requests that the Court enter a revised briefing

schedule granting the Defendant 21 days to respond, and Plaintiff 14 days to reply in connection

with the Plaintiff’s motion for back pay/lost wages, prejudgment interest and equitable relief and

grant him any other relief the Court deems appropriate.

                                              JOHN NAWARA

                                              s/ Richard F. Linden




Richard F. Linden
312/590-0211
lindenlaw@gmail.com
Peter V. Bustamante
312/346-2072
pvbust@bustamantelaw.com
Linden & Bustamante
17 North State Street, Suite 1550
Chicago, Illinois 60602




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